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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

ANDREW WALLACE,                              )
                         Plaintiff,          )
                                             )      No. 1:16-cv-1261
-v-                                          )
                                             )      Honorable Paul L. Maloney
EDWARD W. SPARROW HOSPITAL                   )
ASSOCIATION, INC.,                           )
                    Defendant.               )
                                             )

                                      JUDGMENT

      The Court has resolved all pending claims. As required by Rule 58 of the Federal

Rules of Civil Procedure, JUDGMENT ENTERS.

      THIS ACTION IS TERMINATED.

      IT IS SO ORDERED.

Date: March 2, 2018                                  /s/ Paul L. Maloney
                                                    Paul L. Maloney
                                                    United States District Judge
